                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF OHIO

IN RE:                                        )       CHAPTER 11
                                              )
Squirrels Research Labs LLC                   )       CASE NO. 21-61491-rk
                                              )       (Jointly Administered)
                Debtor.                       )
                                              )       JUDGE RUSS KENDIG

                   NOTICE OF SCEB, LLC’S MOTION FOR RELIEF FROM STAY
                           AND CERTIFICATE OF SERVICE

      SCEB, LLC has filed papers with the court to obtain relief from a stay for an order lifting the
automatic stay imposed by section 362(a) of the Bankruptcy Code for the purposeof permitting SCEB,
LLC to retrieve its 174 Field Programmable Gateway Assemblies.

Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to
consult one.)

If you do not want the court to grant the relief requested sought in the motion, or if you want the court
to consider your views on the motion, then on or before February 16, 2022, you or your attorney must:

1.     File a written response, explaining your position, at

         U.S. Bankruptcy Court
         Ralph Regula Federal Building and U.S. Courthouse
         401 McKinley Ave. SW
         Canton, OH 44702

If you mail your response to the court for filing, you must mail it early enough so that the court will
receive it on or before the date stated above.

2.       Mail a copy to:

         Steven J. Heimberger, Esq.
         Roderick Linton Belfance, LLP
         50 S. Main Street, 10th Floor
         Akron, OH 44308




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3.       Attend the hearing scheduled to be held on March 2, 2022 at 9:30 a.m. Counsel and
parties should call (888) 684-8852 and use Access Code 3303949 followed by the pound sign,
which is #. Upon connection you will automatically be muted. (That is, you will be able to hear,
but you will not be heard.) The courtroom deputy will call court into session and call each case.
When your case is called, you may unmute your line by pressing * and then pressing 6 on your
telephone key pad. If you have a problem connecting to the hearing, immediately contact
chambers at 330-458-2440. The hearing may be adjourned by the court from time to time
without further notice.

If you or your attorney do not take these steps, the court may decide that you do not oppose the relief
sought in the motion and may enter an order granting that relief without further hearing or notice.



                                                     Respectfully submitted,


                                                     /s/ Steven J. Heimberger
                                                     STEVEN J. HEIMBERGER (0084618)
                                                     Roderick Linton Belfance, LLP
                                                     50 S. Main Street, 10th Floor
                                                     Akron, OH 44308
                                                     Phone: (330) 434-3000 / Fax: (330) 434-9220
                                                     Email: sheimberger@rlbllp.com
                                                     Counsel for Movant, SCEB, LLC




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                                      CERTIFICATE OF SERVICE

       The undersigned certifies that on January 26, 2022, a true and correct copy of the foregoing

Notice of SCEB, LLC’s Motion for Relief From Stay and Certificate of Service was served via the

Court’s electronic case filing system on these entities and individuals who are listedon the Court’s

Electronic Mail Notice List:


      John C. Cannizzaro John.Cannizzaro@icemiller.com, lauren.prohaska@icemiller.com
      Christopher Paul Combest christopher.combest@quarles.com
      John G. Farnan jfarnan@westonhurd.com
      Robert E. Goff rgoff@westonhurd.com, jroberts@westonhurd.com
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      Marc Merklin mmerklin@brouse.com, tpalcic@brouse.com;mmiller@brouse.com
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       jray@meyersroman.com;mnowak@meyersroman.com
      Christopher Niekamp cniekamp@bdblaw.com
      Paul J. Schumacher pschumacher@dmclaw.com, tgross@dmclaw.com
      Frederic P. Schwieg fschwieg@schwieglaw.com
      Frederic P. Schwieg fschwieg@schwieglaw.com
      Bryan Sisto bsisto@fbtlaw.com
      United States Trustee (Registered address)@usdoj.gov
      Joshua Ryan Vaughan jvaughan@amer-collect.com, SAllman@AMER-
       COLLECT.COM;HouliECF@aol.com
      Julie K. Zurn jzurn@brouse.com, tpalcic@brouse.com
      Kate M. Bradley ust44 kate.m.bradley@usdoj.gov

And by regular U.S. Mail, postage prepaid, on:

Brouse McDowell, on behalf of Debtors
388 South Main Street
Suite 500
Akron, OH 44311-4407



                                                      /s/ Steven J. Heimberger
                                                      STEVEN J. HEIMBERGER (0084618)




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